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                                        UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF MARYLAND


 LESTER LEE,

           PLAINTIFF

 v.
                                                               Case No. 8:24-cv-01205-TJS
 BROOKSIDE PARK CONDOMINIUM,
 INC., METROPOLIS (aka MCM, INC.),
 RAMMY AZOULAY AND LAMONT
 SAVOY

           DEFENDANTS


  DEFENDANTS BROOKSIDE PARK CONDOMINIUM, INC., METROPOLIS (aka
 MCM, INC.), AND RAMMY AZOULAY’S ANSWER TO PLAINTIFF’S COMPLAINT

          Defendants BROOKSIDE PARK CONDOMINIUM, INC., METROPOLIS (aka

MCM, INC.), AND RAMMY AZOULAY (hereinafter “BPC Defendants” or “Defendant”), by

and through undersigned counsel, hereby respectfully sets forth the following Answer to Plaintiffs’

Complaint as follows:

          1.        Denied.

          2.        Admitted.

          3.        Admitted.

          4.        Defendants are without knowledge as to the allegations of Paragraph 4 and

therefore it is denied.

          5.        Admitted.

          6.        Admitted

          7.        Admitted that Mr. Azoulay was the onsite manager. The remaining allegations are

denied.



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        8.      Denied.

        9.      Denied.

        10.     Defendants are without knowledge as to the allegations of Paragraph 10 and

therefore it is denied.

        11.     Paragraph 11 makes legal allegations; no response is required. Defendants are

without knowledge as to the factual allegations of Paragraph 11 and therefore it is denied.

        12.     Defendants are without knowledge as to the allegations of Paragraph 12 and

therefore it is denied.

        13.     Denied.

        14.     Defendants are without knowledge as to the allegations of Paragraph 12 and

therefore it is denied.

        15.     Admitted.

        16.     Admitted.

        17.     Denied.

        18.     Defendants are without knowledge as to the allegations of Paragraph 18 and

therefore it is denied.

        19.     Admitted.

        20.     Defendants are without knowledge as to the allegations of Paragraph 18 and

therefore it is denied.

        21.     Defendants are without knowledge as to the allegations of Paragraph 21 and

therefore it is denied.

        22.     Denied.

        23.     Denied.




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        24.     Denied.

        25.     Denied.

        26.     Denied.

        27.     Denied.

        28.     Denied.

        29.     Denied.

        30.     Denied.

        31.     Denied.

        32.     Denied.

        33.     Denied.

        34.     Denied.

        35.     Denied.

        36.     Denied.

        37.     Denied.

        38.     Defendants are without knowledge as to the allegations of Paragraph 38 and

therefore it is denied.

        39.     Denied.

        40.     Denied.

        41.     Defendant is without knowledge as to the allegations of Paragraph 41 and therefore

it is denied.

        42.     Defendant is without knowledge as to the allegations of Paragraph 42 and therefore

it is denied.




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        43.     Defendant is without knowledge as to the allegations of Paragraph 43 and therefore

it is denied.

        44.     Defendant is without knowledge as to the allegations of Paragraph 44 and therefore

it is denied.

        45.     Defendant is without knowledge as to the allegations of Paragraph 45 and therefore

it is denied.

        46.     Defendant is without knowledge as to the allegations of Paragraph 46 and therefore

it is denied.

        47.     Defendant is without knowledge as to the allegations of Paragraph 47 and therefore

it is denied.

        48.     Defendant is without knowledge as to the allegations of Paragraph 48 and therefore

it is denied.

        49.     Denied.

        50.     Defendant is without knowledge as to the allegations of Paragraph 50 and therefore

it is denied.

        51.     Defendant is without knowledge as to the allegations of Paragraph 51 and therefore

it is denied.

        52.     Defendant is without knowledge as to the allegations of Paragraph 52 and therefore

it is denied.

        53.     Defendant is without knowledge as to the allegations of Paragraph 53 and therefore

it is denied.

        54.     Defendant is without knowledge as to the allegations of Paragraph 54 and therefore

it is denied.




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        55.      Denied.

        56.      Denied.

        57.      Denied.

        58.      Denied.

        59.      Denied.

        60.      Denied.

        61.      Denied.

                                       PRAYER FOR RELIEF
        Denied.

                                        Affirmative Defenses

        1.        Plaintiff’s claim fails to state a claim upon which relief may be granted.

        2.       Plaintiff’s claim is barred by illegality because Prince George’s County ordinances

prohibit the ownership of pit bulls.

        3.       Plaintiff’s claim is or may be barred by the statute of limitations.

        4.       Plaintiff’s claim is barred by failure to meet a condition precedent.

 Respectfully submitted,



 /s/Anthony D. Dwyer
 Anthony D. Dwyer (415575)
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 Condominium, Inc., Metropolis (aka MCM,
 Inc.), and Rammy Azoulay




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 7th day of June, 2024, copies of the foregoing

DEFENDANTS BROOKSIDE PARK CONDOMINIUM, INC., METROPOLIS (aka MCM,

INC.), AND RAMMY AZOULAY’S ANSWER TO PLAINTIFFS' COMPLAINT were

served by first-class mail, postage prepaid to:


                                 Richard Bruce Rosenthal, Esq.
                                 545 E. Jericho Turnpike
                                 Huntington Station, NY 11746
                                 631.629.8111 (Phone
                                 richard@thedoglawyer.com
                                 Pro Hac Vice




                                                      /s/Anthony D. Dwyer
                                                      Anthony D. Dwyer (415575)




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